1:16-cv-02792-JMC Date Filed 09/27/19 EntryNumber 123 Pagelofi

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA

AIKEN DIVISION
Adrienne W. Saulsberry, ) Civil Action No.: 1:16-cv-02792-JMC
)
Plaintiff, )
)
v. )
)
Savannah River Remediation, LLC )
)
Defendant. )

VERDICT FORM
WE THE JURY unanimously find as follows:

1. Do you find from a preponderance of the evidence that one or more management officials of
SRR acted with malice or reckless indifference to federally protected rights to be free from
retaliation for protected activity?

Yes x No.

[NOTE: If your answer to question 1 is "YES", please proceed to question number 2 on the
amount of punitive damages. If your answer to question | is “NO” please skip the remaining
question, sign and date the verdict form and return it to the courtroom. J

2. Please state the amount of punitive damages, if any, which you find should be assessed against the
Defendant Savannah River Remediation, LLC:

SO SAY WE ALL

/ —— 7 ture

Printed Jury Foreperson name

9-27-2019

Date

